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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §                4:15-CR-263-01
      versus                                   §
                                               §        JUDGE CHARLES ESKRIDGE
ASHER KHAN                                     §

               DEFENDANT’S SUPPLEMENTAL CLASS CERTIFICATES

TO THE HONORABLE CHARLES ESKRIDGE:

       Defendant Asher Khan provides the attached class certificates to assist the Court in

determining an appropriate punishment in this case.



                                                      Respectfully submitted,

                                                      /s/ David Adler
                                                      ____________________
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                               CERTIFICATE OF SERVICE

     A copy of this pleading was provided to the AUSA and the Probation Office via email on
December 16, 2021.


                                                 /s/ David Adler
                                                 ____________________
                                                 David Adler




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